     Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 1 of 11



                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS


                                )
UNITED STATES OF AMERICA        )
                                )
V.                              )       Crim. No. 15-cr-10271-WGY
                                )
ALEX LEVIN                      )
                                )


     DEFENDANT’S REVISED MOTION FOR RELEASE WITH CONDITIONS


     The defendant, Alex Levin, moves that this Court release

him with conditions pursuant to 18 U.S.C. § 3142(c). The

defendant moves this Court to permit him to reside with his

parents without requiring either of them to serve as a third-

party custodian. As grounds therefore, the defendant states that

a third-party custodian is not necessary to ensure his

appearance in court or to protect the public safety.

                       Procedural Background

     The defendant was arrested on August 12, 2015 at his home

in Norwood, Massachusetts. This Court held a detention hearing

on August 17, 2015. The Court held the defendant pending

completion of an investigation by Probation. The Court conducted

a second detention hearing on August 21, 2015. The Court again

detained the defendant but gave leave to counsel to return with

an acceptable proposal for release.




                                    1
     Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 2 of 11



     On September 17, 2015, the grand jury returned an

indictment charging the defendant with one count of possession

of child pornography under 18 U.S.C. § 2252A(5)(B) and one count

of criminal forfeiture under 18 U.S.C. § 2253. The defendant was

arraigned on the indictment on October 7, 2015. At arraignment,

the Court indicated that it would reconsider a motion for

release subject to an updated report from Probation regarding

the suitability of a proposed third party custodian. On November

2, 2015, the defendant filed a Motion for Release with

Conditions (Dkt. 23). On that date, the defendant also filed a

Motion for Reconsideration of Defendant’s Motion to Review

Detention, which requested that the Court direct Pretrial

Services to investigate the defendant’s release to his mother

Bertha Levin as a proposed third-party custodian. (Dkt. 22).

     Counsel for the defendant has reviewed the report prepared

by Probation regarding the proposed third-party custodian.

Counsel is aware that Probation has determined that the

defendant’s mother would not be suitable a third-party

custodian.

                  Proposed Conditions of Release

     The defendant respectfully moves that the Court release him

subject to the following conditions:




                                   2
       Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 3 of 11



    1. The defendant must reside with his parents, Yefim Levin and

      Bertha Levin, at their apartment located at 244 Belmont

      street, #602, Worcester, Massachusetts.

    2. The defendant shall be required to wear an electronic

      monitoring bracelet at all times.

    3. The defendant shall have a curfew between the hours of 8:00

      p.m. and 7:00 a.m.

    4. The defendant shall not access the internet without prior

      court approval.

    5. The defendant shall not have unsupervised contact with a

      child under the age of 18 with the exception of his

      daughter as long as said contact is not prohibited by the

      Massachusetts Department of Children and Families or by

      order of any court. 1

    6. The defendant shall surrender his passport to Probation.

    7. The defendant shall report to Probation at the discretion

      of Probation.

                      Background of the Defendant

      The defendant, Alex Levin, is a 49 year old citizen of the

United States with no prior criminal record. He has a long

history of gainful employment and strong ties to the community.

He was born and raised in Belarus (then part of the Soviet

1
  The defendant has not identified the child by name in this
pleading so as to safeguard her privacy. Her name will be
provided to Probation.

                                     3
     Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 4 of 11



Union) with his family. His father, Yefim, worked as a welder

and his mother, Bertha, worked as a civil engineer. Alex and his

family suffered a significant amount of anti-Semitism in the

Soviet Union and emigrated in 1979 when he was 13 years old.

     The family lived briefly in Italy before settling in

Worcester, Massachusetts. Alex flourished in the United States.

He graduated Doherty Memorial High School in Worcester in 1984.

Four years later, he graduated from Central New England College

of Technology with a bachelor’s degree in computer science. He

continued his education, obtaining a master’s degree in computer

science from Fitchburg State University in 1992.

     Alex has worked in the technology field for over twenty-

five years. He has served as a director of information

technology, a system architect and a project manager. He founded

his own technology consulting company, “AL Technology, LLC.” In

2014, he attained a full-time position with an India-based

consulting company. He held this position up to the time of his

arrest.

     Alex has a significant amount of support from his brother

Gregory, his parents, and his girlfriend of three years, Linh.

Most significantly, Alex is the devoted father of a nine-year

old daughter. Alex and his daughter have remained extremely

close following his divorce from her mother several years ago.

Prior to his arrest, Alex had visitation with his daughter every

                                   4
       Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 5 of 11



Wednesday and every other weekend, and they spoke on the

telephone every day. The sudden and complete separation caused

by Alex’s arrest has been devastating to both of them.

                                 Argument

       To detain a defendant prior to trial, the government must

demonstrate by a preponderance of the evidence that the

defendant poses a risk of flight, or by clear and convincing

evidence that he is a danger to the community. 18 U.S.C. § 3142;

United States v. Patriarca 948 F.2d 789, 793 (1st Cir. 1991).

The Court may impose conditions in lieu of detaining the

defendant in order to ensure the defendant’s appearance and

protect the safety of other persons and the community. 18 U.S.C.

§ 3142(c). The defendant is charged with one count of simple

possession of child pornography, pursuant to 18 U.S.C. §

2252A(a)(5), based on visual depictions he possessed on his home

computer. This allegation does not invoke a presumption of

detention. Contrast 18 U.S.C. § 3142(e)(3). Moreover, he is not

subject to any mandatory minimum sentencing provision.

  I.     The defendant is not a flight right risk and does not
         pose a danger to the community.

       There is no reason to believe that the defendant is a

flight risk. He is a middle-aged man who has at all times in his

life been a productive member of the community. It is no

exaggeration to say that his entire world – his parents, his


                                     5
        Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 6 of 11



long-term girlfriend, his beloved daughter – is in

Massachusetts. His employment history, with the exception of

three years he spent working for Compaq in Texas, is in

Massachusetts. He has no desire to leave the Commonwealth, and

remains anchored by his strong ties to his family.

     The government similarly cannot show that the defendant

poses a danger to the community. This is not to gainsay the

seriousness of allegations involving child pornography, yet

there is nothing in the defendant’s personal history to suggest

that he has ever posed a danger to a child in any way. He has no

history of violence or sexual misconduct toward a person of any

age. Moreover, as an added assurance to this Court, the

defendant has proposed a condition that he have no unsupervised

contact with any child under the age of 18, with the exception

of his daughter as long as that contact is not otherwise

prohibited. Respectfully, the defendant submits that the

question of whether the defendant should continue to have

contact with his daughter is one best delegated to the child’s

mother, child welfare officials and, if necessary, the Probate

and Family Court.

  II.    A third-party custodian is not necessary to ensure the
         defendant’s compliance with his conditions of release.

     The defendant has been in custody since August 12, 2015.

Prior to his arrest in this case, he had never served a day in a


                                      6
     Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 7 of 11



jail or prison. Since his arrest, he has made multiple attempts

to convince this Court of his suitability for release. Through

prior counsel, he proposed the possibility of a third-party

custodian in order to give the Court added assurance that he

would comply with all conditions of release. At different times,

his brother, a friend and his mother have all indicated a

willingness to serve as a custodian.

     The defendant respectfully suggests that a custodian is not

necessary in this case. As set forth above, the defendant is

simply not a flight risk and not a threat to public safety. To

the extent that the Court is concerned about the defendant

coming into contact with children, a retirement community is one

of the few places where children would not be expected to live

in close proximity. Instead, he would be a in a position to

assist with the care of his elderly parents.

     There is similarly no need here for the type of supervision

typically expected of a third-party custodian. His parents are

willing to password-protect their computer or even disconnect it

if ordered by the Court. Probation would be able to monitor the

defendant’s compliance with his curfew via his electronic

monitoring bracelet. The defendant would willingly report to

Probation on whatever basis ordered by the Court.

     The defendant does not need any supervision or added

incentive to comply with any conditions this Court deems fit. He

                                   7
        Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 8 of 11



has already spent several long months in detention so he is well

aware of the consequences of a violation of his conditions. He

has been separated from his young child. He has lost his

employment and has been unable to support his child and ex-wife

financially. The prospect of being reincarcerated is more than

sufficient to ensure that he conform his behavior to the

dictates of the law and this Court during the pendency of this

case.

                                 Conclusion

     The defendant is an appropriate candidate for release

pursuant to 21 U.S.C. § 3142(c). It is clear that he is neither

a flight risk nor a danger to the community. He is 49 years old

with no prior history of criminal behavior, violence or sexual

misconduct. He is tethered to the community by the unyielding

support of his family and girlfriend. He is a dedicated father

who wants nothing more than to begin to heal the trauma that his

arrest has caused to his daughter. He is willing to reside with

his parents and be subject to electronic monitoring and other

appropriate conditions. For these reasons, the defendant

respectfully moves that this Court release him subject to

conditions.

                          REQUEST FOR A HEARING

     The defendant requests a hearing on this motion.




                                      8
     Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 9 of 11



                                       ALEX LEVIN
                                       By His Attorneys,

                                       CARNEY & ASSOCIATES


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December 2, 2015




                                   9
     Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 10 of 11



                       Certificate of Service

     I hereby certify that this document filed through the ECF
system will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-
registered participants on or before the above date.


                                        J. W. Carney, Jr.
                                        J. W. Carney, Jr.




                                   10
     Case 1:15-cr-10271-WGY Document 29 Filed 12/02/15 Page 11 of 11



                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                )
UNITED STATES OF AMERICA        )
                                )
V.                              )        Crim. No. 15-cr-10271-WGY
                                )
ALEX LEVIN                      )
                                )

                      AFFIDAVIT SUPPORTING
     DEFENDANT’S REVISED MOTION FOR RELEASE WITH CONDITIONS


     I, J. W. Carney, Jr., state that the facts contained in the

attached motion are true to the best of my information and

belief.



     Signed under the penalties of perjury.




                                         J. W. Carney, Jr.
                                         J. W. Carney, Jr.



December 2, 2015




                                    11
